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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                          No: 19-1912

                                        Cornell McKay

                                                     Appellant

                                                v.

                                        City of St. Louis

                                                     Appellee

                                         Jennifer Joyce

             Anthony Boettigheimer, in his individual and official capacities, et al.

                                                     Appellees

                           Susan Ryan and SC Ryan Consulting, LLC

______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:15-cv-01315-JAR)
______________________________________________________________________________

                                          MANDATE

       In accordance with the opinion and judgment of 06/05/2020, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                      June 26, 2020




Clerk, U.S. Court of Appeals, Eighth Circuit




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